       Case 2:21-cr-00443-PA Document 4 Filed 09/21/21 Page 1 of 5 Page ID #:9



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 9   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
10
                            UNITED STATES DISTRICT COURT
11
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
     UNITED STATES OF AMERICA,               CR     2:21-cr-00443 -PA            1
13
               Plaintiff,                    GOVERNMENT’S NOTICE OF REQUEST FOR
14                                           DETENTION
                     v.
15
     TIMOTHY CORNELL PATTERSON,
16
               Defendant.
17

18
          Plaintiff, United States of America, by and through its counsel
19
     of record, hereby requests detention of defendant and gives notice of
20
     the following material factors:
21
         1.    Temporary 10-day Detention Requested (§ 3142(d)) on the
22
               following grounds:
23
              a.   present offense committed while defendant was on release
24
                   pending (felony trial),
25
              b.   defendant is an alien not lawfully admitted for
26
                   permanent residence; and
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     Case 2:21-cr-00443-PA Document 4 Filed 09/21/21 Page 2 of 5 Page ID #:10



 1          c.    defendant may flee; or

 2          d.    pose a danger to another or the community.

 3     2.    Pretrial Detention Requested (§ 3142(e)) because no
 4           condition or combination of conditions will reasonably
 5           assure:
 6           a.    the appearance of the defendant as required;
 7           b.    safety of any other person and the community.
 8     3.    Detention Requested Pending Supervised Release/Probation
 9           Revocation Hearing (Rules 32.1(a)(6), 46(d), and 18 U.S.C.
10           § 3143(a)):
11           a.    defendant cannot establish by clear and convincing
12                 evidence that he/she will not pose a danger to any
13                 other person or to the community;
14           b.    defendant cannot establish by clear and convincing
15                 evidence that he/she will not flee.
16     4.    Presumptions Applicable to Pretrial Detention (18 U.S.C.
17           § 3142(e)):
18           a.    Title 21 or Maritime Drug Law Enforcement Act (“MDLEA”)
19                 (46 U.S.C. App. 1901 et seq.) offense with 10-year or
20                 greater maximum penalty (presumption of danger to
21                 community and flight risk);
22           b.    offense under 18 U.S.C. §§ 924(c), 956(a), 2332b, or
23                 2332b(g)(5)(B) with 10-year or greater maximum penalty
24                 (presumption of danger to community and flight risk);
25           c.    offense involving a minor victim under 18 U.S.C.
26                 §§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245, 2251,
27                 2251A, 2252(a)(1)-(a)(3), 2252A(a)(1)-2252A(a)(4),
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                                         2
     Case 2:21-cr-00443-PA Document 4 Filed 09/21/21 Page 3 of 5 Page ID #:11



 1                 2260, 2421, 2422, 2423 or 2425 (presumption of danger

 2                 to community and flight risk);

 3           d.    defendant currently charged with an offense described
 4                 in paragraph 5a - 5e below, AND defendant was
 5                 previously convicted of an offense described in
 6                 paragraph 5a - 5e below (whether Federal or
 7                 State/local), AND that previous offense was committed
 8                 while defendant was on release pending trial, AND the
 9                 current offense was committed within five years of
10                 conviction or release from prison on the above-
11                 described previous conviction (presumption of danger to
12                 community).
13     5.    Government Is Entitled to Detention Hearing Under § 3142(f)
14           If the Case Involves:
15           a.    a crime of violence (as defined in 18 U.S.C.
16                 § 3156(a)(4)), a violation of 18 U.S.C. § 1591, or
17                 Federal crime of terrorism (as defined in 18 U.S.C.
18                 § 2332b(g)(5)(B)) for which maximum sentence is 10
19                 years’ imprisonment or more;
20           b.    an offense for which maximum sentence is life
21                 imprisonment or death;
22           c.    Title 21 or MDLEA offense for which maximum sentence is
23                 10 years’ imprisonment or more;
24           d.    any felony if defendant has two or more convictions for
25                 a crime set forth in a-c above or for an offense under
26                 state or local law that would qualify under a, b, or c
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                                         3
          Case 2:21-cr-00443-PA Document 4 Filed 09/21/21 Page 4 of 5 Page ID #:12



 1                      if federal jurisdiction were present, or a combination

 2                      or such offenses;

 3                e.    any felony not otherwise a crime of violence that
 4                      involves a minor victim or the possession or use of a
 5                      firearm or destructive device (as defined in 18 U.S.C.
 6                      § 921), or any other dangerous weapon, or involves a
 7                      failure to register under 18 U.S.C. § 2250;
 8                f.    serious risk defendant will flee;
 9                g.    serious risk defendant will (obstruct or attempt to
10                      obstruct justice) or (threaten, injure, or intimidate
11                      prospective witness or juror, or attempt to do so).
12          6.    Government requests continuance of _____ days for detention
13                hearing under § 3142(f) and based upon the following
14                reason(s):
15

16

17

18

19   //
20   //
21   //
22   //
23   //
24   //
25   //
26   //
27   //
28   //
                                              4
      Case 2:21-cr-00443-PA Document 4 Filed 09/21/21 Page 5 of 5 Page ID #:13



 1      7.    Good cause for continuance in excess of three days exists in

 2            that:

 3

 4

 5

 6

 7

 8   Dated: September 21, 2021           Respectfully submitted,
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11                                       Assistant United States Attorney
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13
                                         SCOTT D. DUBOIS
14                                       Assistant United States Attorney
15                                       Attorneys for Plaintiff
                                         UNITED STATES OF AMERICA
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